Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 1 of 21




                       EXHIBIT 1
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 2 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 3 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 4 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 5 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 6 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 7 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 8 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 9 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 10 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 11 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 12 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 13 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 14 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 15 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 16 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 17 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 18 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 19 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 20 of 21
Case 2:19-cv-08290-MVL-JVM Document 1-1 Filed 04/04/19 Page 21 of 21
